UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------------x
BETSEY NIEVES & XARIEL CAMBRELEN

                                   Plaintiff
              -against-                                                       COMPLAINT
                                                                              PLAINTIFFS DEMAND
THE CITY OF NEW YORK,                                                         TRIAL BY JURY
DETECTIVE MICHAEL FAHMY
and POLICE OFFICER JOHN DOE 1-15                                              Docket No. 15-cv-4815

                                    Defendants
-------------------------------------------------------------------------X




MICHAEL COLIHAN- ATTORNEY AT LAW
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UNITED STATES DISTRICT COURT
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BETSEY NIEVES & XARIEL CAMBRELEN

                                   Plaintiff
              -against-                                                       COMPLAINT
                                                                              PLAINTIFFS DEMAND
THE CITY OF NEW YORK                                                          TRIAL BY JURY
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and POLICE OFFICER JOHN DOE 1-15                                              Docket # 15-cv-4815

                                    Defendants
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        Plaintiffs, BETSEY NIEVES & XARIEL CAMBRELEN, by their attorney, Michael
Colihan, as and for their complaint in this action against the defendants, above named,
respectfully sets forth and alleges as follows:


                                PRELIMINARY STATEMENT


        1. This is a civil action for damages brought to redress the deprivation by

defendants of the rights secured to plaintiffs under the Constitution and laws of the United States

and the State of New York. The defendants, upon information & belief without probable cause,

unlawfully arrested and falsely imprisoned the plaintiff. in Richmond County for drug related

offenses . The plaintiffs suffered loss of liberty and serious and severe psychological injuries, the

full nature and extent of which have yet to be determined. The plaintiffs did not consent to any

confinement and it was not otherwise privileged.. The underlying criminal cases against the

plaintiffs were dismissed. By the filing of this complaint, the plaintiffs now alleges that the City

of New York & the New York City Police Department violated their rights under 42 USC

Section 1983 and 1988, the 4th Amendment of the United States Constitution and New York
State law. In addition, the plaintiffs invoke the pendant jurisdiction of this court to assert claims

arising under state law. The plaintiffs allege that the incidents that are the subject of their

complaint are part of a pattern of false arrests and civil rights violations against persons of color,

as well as others, by members of The New York City Police Department in Richmond County,

especially in the 120th Precinct in the neighborhoods known as Park Hill, Stapleton,

Tompkinsville, Saint George and elsewhere. The motivation for these unlawful arrests is, upon

information & belief, overtime compensation for the arresting officers and the statistical needs

of the NYPD. The City has displayed a deliberate indifference to this unlawful and perjurious

activity by its employees.


                                      JURISDICTION


        2. That the jurisdiction of this Court is invoked under the provisions of Section 1331 &

1343 of Title 28 and Sections 1983 & 1988 of Title 42 of the United States Code, as well as the

Fourth and Fourteenth Amendments to the Constitution of the United States. Plaintiffs further

invoke the supplemental jurisdiction of this Court pursuant to 28 USC Section 1367 to hear and

decide their New York State Law claims of false arrest, false imprisonment and the intentional

and negligent infliction of mental & emotional distress against the individual defendant police

officers. These state law claims form part of the same case and controversy as plaintiff’s federal

claims under Article III of the United States Constitution.




        3. Because plaintiff’s state law claims are brought only against the individual defendant

police officers and allege intentional conduct, no notice of claim is required. In suits against

municipal or county employees, as opposed to suit against municipalities themselves, “ service of

the notice of claim upon the public corporation shall be required only if the corporation has a
statutory obligation to indemnify such person under this chapter or any other provision of law”

N.Y. Gen. Mun. Law Section 50- e (1) n(b).



       4. Venue is properly laid in the Southern District of New York in that this is the District

where the claim arose, especially with respect to the managers of the City of New York and The

New York City Police Department who allow the unlawful acts complained of to continue.



                                  JURY DEMAND



       5. Plaintiff respectfully demands a trial by jury of all issues in this matter pursuant to

Federal Rule of Civil Procedure 38 (b)



                                PARTIES



       6. The plaintiff BETSEY NIEVES is a 32 year old female and a resident of the City and

State of New York, in Richmond County.


       7 . The plaintiff XARIEL CAMBRELEN is a 23 year old male and a resident of the City

and State of New York, in Richmond County.



       8. The defendant THE CITY OF NEW YORK was and is a municipal corporation

organized and existing under the laws of the City and State of New York.



        9. The defendant THE CITY OF NEW YORK maintains, operates, manages and
controls the New York City Police Department ( hereinafter referred to as “NYPD”) a duly

authorized police department authorized, organized and existing to perform and carry out all

functions of a police department as per the applicable laws, rules, statues and ordinances of the

aforementioned municipal corporation THE CITY OF NEW YORK.



          10. That the defendant DETECTIVE MICHAEL FAHMY, Sh. # 1434 was and is an

agent, servant and employee of the defendant THE CITY OF NEW YORK.



          11. That the defendants POLICE OFFICERS JOHN DOE 1-15 were and are agents,


servants & employees of the defendant THE CITY OF NEW YORK.


                   STATEMENT OF RELEVANT FACTS


          12. That on or about the 15th day of November, 2013, the plaintiff BETSEY NIEVES

was lawfully in the City and State of New York in the County of Richmond, at or near 132

Harrison Avenue.



         13. That on or about the 15th day of November, 2013, the plaintiff XARIEL

CAMBRELEN was lawfully in the City and State of New York in the County of Richmond, at

or near 132 Harrison Avenue.



        14. The plaintiff BETSEY NIEVES was committing no crime at that time and was not

acting in a suspicious manner. She was not in possession of any contraband or controlled

substances.
         15. The plaintiff XARIEL CAMBRELEN was committing no crime at that time and was

not acting in a suspicious manner. He was not in possession of any contraband or controlled

substances.



         16. At the aforesaid time and place the plaintiffs were unlawfully and without just cause,

approached, accosted, falsely arrested and falsely imprisoned by the aforementioned officers of

THE NEW YORK CITY POLICE DEPARTMENT who were agents, servants and employees of

the defendant THE CITY OF NEW YORK who were acting under color of law during the

aforesaid transactions .



         17. The defendant officers continued to imprison BETSEY NIEVES approximately 24

hours after her unlawful arrest. She was compelled to make numerous court appearances until

April 21, 2015 when the criminal charges against her were dismissed by Judge Rodriguez in part

AP-2 of the Criminal Court of the City of New York & county of Richmond. The plaintiff was

wrongfully incarcerated The false charges brought against the plaintiff by the defendants

included but were not limited to violation of New York State Penal Law New York State Penal

Law 220.03 and 221.05 . The docket number was 2013RI009616 in the Criminal Court of the

City of New York and County of Richmond.


       18. The defendant officers continued to imprison XARIEL CAMBRELEN

approximately 24 hours after his unlawful arrest. He was compelled to make numerous court

appearances until April 21, 2015 when the criminal charges against him were dismissed by Judge

Rodriguez in part AP-2 of the Criminal Court of the City of New York & county of Richmond.

The plaintiff was wrongfully incarcerated The false charges brought against the plaintiff by the
defendants included but were not limited to violation of New York State Penal Law New York

State Penal Law 220.03 and 221.05 . The docket number was 2013RI009613 in the Criminal

Court of the City of New York and County of Richmond.



        19. While the plaintiffs were being held, their designated “ arresting officer” ,MICHAEL

FAHMY, with the acquiescence of other defendants, misrepresented facts in the police reports

and other documents that the plaintiffs had committed offenses when in fact this was not true The

false representations included, but were not limited to, that the plaintiffs possessed marijuana,

and other controlled substances .



      20. Said false information and evidence, including the possession of marajuhana was used

against the plaintiffs and formed the basis of the criminal charges against them.



      21. The defendant individual officers began said prosecution with malice and otherwise

caused said prosecution to be commenced against the plaintiffs for the reason of obtaining a

collateral objective outside the lawful and legitimate ends of the legal process, to avoid discipline

for the aforementioned abuse of authority, to obtain overtime compensation and to obtain credit

for an arrest.



        22. All of the foregoing took place as a direct and foreseeable result of the

unconstitutional policies, customs and practices of the City of New York and the NYPD,

including, without limitation, the falsification of evidence, criminal court complaints and other

things to justify the arrest and prosecution of innocent people, including the plaintiffs .
       23. The events complained of are not isolated incidents. Defendant CITY OF NEW

YORK, and its agents , servants and employees, especially its counsel, managers and supervisors

are all aware, from lawsuits brought in New York State Supreme Court and the Federal District

Courts for the Eastern and Southern Districts of New York, which are matters of public record,

notices of claim, complaints filed with the NYPD’s Internal Affairs Bureau (IAB) and the CITY

OF NEW YORK’S Civilian Complaint Review Board or “CCRB” that many officers of the

NYPD, including the defendants, are not sufficiently trained regarding the law of arrest, the

definition of probable cause, and are engaging in a pattern of falsification to conceal their abuse

of authority and for other unlawful motives.



       24. Defendant THE CITY OF NEW YORK is further aware that such improper training

has often resulted in a violation of people’s civil rights. Despite such notice, defendant CITY OF

NEW YORK has failed to take corrective action. This failure to act was a direct result of the acts

complained of.



       25. Further, upon information and belief, defendant CITY OF NEW YORK was aware,

prior to the incident that is the subject of this complaint, that the individual defendants lacked the

temperament, objectivity, maturity, discretion and proper disposition to function lawfully as

police officers. Despite such notice, the defendant THE CITY OF NEW YORK has retained such

officers, and failed to adequately train and supervise them.



       26. By reason of the foregoing, plaintiff sustained injury and damage as described above.
        AS AND FOR A FIRST CLAIM ON BEHALF OF THE PLAINTIFF
                             BETSEY NIEVES
             Deprivation of Rights under 42 U.S.C. Section 1981 & 1983


              27. The plaintiff repeats the foregoing allegations



              28. Each, every and all of the aforementioned acts of defendants, their agents,

servants and employees were performed and carried out under color of law.

              29. All of the above described acts deprived plaintiff BETSEY NIEVES of the

rights, privileges and immunities guaranteed to United States citizens by the Fourth and

Fourteenth Amendments to the United States Constitution and in violation of 42 U.S.C. Section

1983.

             30. The acts which are the subject of this complaint were carried out by the

aforementioned individually named defendants, including but not limited to DETECTIVE

MICHAEL FAHMY, in their capacities as officers of the NYPD, with the entire actual and or

apparent authority attendant thereto, and with the intent to discriminate on the basis of race.



             31. The acts which are the subject of this complaint were performed by the

individually named defendants in their capacities as officers of the NYPD, pursuant to the

customs, practices, usages, procedures and rules if the CITY OF NEW YORK and the NYPD, all

under the supervision of ranking officers of said department.



             32. Defendants, collectively and individually, while acting under color of state law,

engaged in conduct and actions that constituted a usage, custom,practice, procedure or rule of the

respective municipal authority and defendant, THE CITY OF NEW YORK, which is forbidden
by the United States Constitution.

       33. By reason of the foregoing, the plaintiff BETSEY NIEVES is entitled to

compensatory damages in a sum to be decided by a jury, and is further entitled to punitive

damages against the individual defendants in an amount to be determined by a jury, and, in

addition, reasonable attorney’s fees, costs and disbursements of this action.




       AS AND FOR A SECOND CLAIM ON BEHALF OF BETSEY NIEVES
            False Arrest/Unlawful Imprisonment under 42 U.S.C. Section 1983


                 34. Plaintiff repeats the foregoing allegations


                  35. The Defendants arrested the plaintiff BETSEY NIEVES without probable
cause, causing her to be detained against her will for an extended period of time and subjected to
physical restraints.


                 36. The individually named defendants caused plaintiff BETSEY NIEVES to be
falsely arrested and unlawfully detained.


                37. By reason of the foregoing, the plaintiff BETSEY NIEVES is entitled to
compensatory damages in a sum to be decided by a jury, and is further entitled to punitive
damages against the individual defendants in an amount to be determined by a jury, and, in
addition, reasonable attorney’s fees, costs and disbursements of this action.



        AS AND FOR A THIRD CLAIM ON BEHALF OF BETSEY NIEVES
            ( Malicious prosecution under 42 U.S.C. Section 1983 )


                 38. Plaintiff repeats the foregoing allegations


                39. The individually named defendants began, initiated, commenced and
continued a malicious protection against the plaintiff BETSEY NIEVES
               40. Defendants caused the plaintiff BETSEY NIEVES to be prosecuted without
probable cause until the charges against her were dismissed on or about April 21, 2015.


                41. By reason of the foregoing, the plaintiff BETSEY NIEVES is entitled to
compensatory damages in a sum to be decided by a jury, and is further entitled to punitive
damages against the individual defendants in an amount to be determined by a jury, and, in
addition, reasonable attorney’s fees, costs and disbursements of this action.


          AS AND FOR A FOURTH CLAIM ON BEHALF OF BETSEY NIEVES
                   Abuse of Process under 42 U.S.C. Section 1983

                42. Plaintiff repeats the foregoing allegations


              43. The defendants issued criminal process against the plaintiff BETSEY
NIEVES by arresting her and falsely prosecuting her in Richmond County Criminal Court .


                   44. Defendants, their agents servants and employees, by their conduct herein
alleged, caused the plaintiff BETSEY NIEVES to be arrested and prosecuted in order to obtain
an impermissible collateral objective outside the legitimate ends of the legal system, to wit: to
avoid discipline for their abuse of authority, to gain overtime compensation, and thereby violated
plaintiff’s right to be free from malicious abuse of process.


                45. By reason of the foregoing, the plaintiff BETSEY NIEVES is entitled to
compensatory damages in a sum to be decided by a jury, and is further entitled to punitive
damages against the individual defendants in an amount to be determined by a jury, and, in
addition, reasonable attorney’s fees, costs and disbursements of this action.


          AS AND FOR A FIFTH CLAIM ON BEHALF OF BETSEY NIEVES
             (Violation of Right to a Fair Trial under 42 U.S.C. Section 1983)


              46. The plaintiff incorporates by reference the allegations set forth in all preceding
paragraphs as if fully set forth herein.


               47. Defendants created false evidence against the plaintiff BETSEY NIEVES
including false statements and physical evidence including marajuhana.
              48. Defendants used the false evidence against BETSEY NIEVES in a legal
proceeding in the Criminal Court of the City of New York and County of Richmond.


                 49. By reason of the defendant’s creation, fabrication, and use of false evidence
against the plaintiff BETSEY NIEVES, plaintiff suffered and experienced a violation of her right
to a fair trial as guarantied by the Constitution of the United States.

               50. By reason of the foregoing, the plaintiff BETSEY NIEVES is entitled to
compensatory damages in a sum to be decided by a jury, and is further entitled to punitive
damages against the individual defendants in an amount to be determined by a jury, and, in
addition, reasonable attorney’s fees, costs and disbursements of this action.

               AS AND FOR A SIXTH CLAIM ON BEHALF OF BETSEY NIEVES
                     Failure to Intervene under 42 U.S.C. Section 1983

            51. The plaintiff incorporates by reference the allegations set forth in all preceding
paragraphs as if fully set forth herein.


              52. The individual defendants had an affirmative duty and obligation to intervene on
behalf of the plaintiff whose constitutional rights were being violated in their presence and with
their knowledge.

             53. The defendants did not intervene to prevent or terminate the unlawful conduct
described herein.

             54. By reason of the foregoing the plaintiff had his liberty restricted for an extended
period of time, he was put in fear of his safety, and he was humiliated and subjected to
handcuffing and other physical restraints.


              55. By reason of the foregoing, the plaintiff BETSEY NIEVES is entitled to
compensatory damages in a sum to be decided by a jury, and is further entitled to punitive
damages against the individual defendants in an amount to be determined by a jury, and, in
addition, reasonable attorney’s fees, costs and disbursements of this action.


       AS AND FOR A SEVENTH CLAIM ON BEHALF OF BETSEY NIEVES
                 Supervisory Liability under 42 U.S.C. Section 1983

            56. The plaintiff incorporates by reference the allegations set forth in all preceding
paragraphs as if fully set forth herein
               57. The supervisory defendants personally caused plaintiff’s constitutional injury by
being deliberately and/or consciously indifferent to the rights of citizens in failing to properly
train, select, supervise and discipline their employees

.             58. By reason of the foregoing, the plaintiff BETSEY NIEVES is entitled to
compensatory damages in a sum to be decided by a jury, and is further entitled to punitive
damages against the individual defendants in an amount to be determined by a jury, and, in
addition, reasonable attorney’s fees, costs and disbursements of this action.



             AS AND FOR AN EIGHTH CLAIM ON BEHALF OF BETSEY NIEVES
                   Municipal Liability under 42 U.S.C. Section 1983
                             MONELL VIOLATION


            59. The plaintiff incorporates by reference the allegations set forth in all preceding
 paragraphs as if fully set forth herein.


         .     60. Defendants, individually and collectively, while acting under color of state law,
 engaged in conduct that constituted a procedure, custom, usage, practice, rule and/or regulation
 of the municipal authority THE CITY OF NEW YORK which violates the Constitution of the
 United States.


              61. The aforementioned procedures, customs, usage, practices, rules and/or
 regulations of the NYPD includes, but is not limited to subjecting citizens to excessive force,
 arresting people without probable cause and engaging in a practice of falsification to conceal
 their abuse of authority. The wrongful acts include perjury and or lying under oath, known in the
 NYPD as “testilying”, the planting of, and or perjurious statements with regard to controlled
 substances , known in the NYPD as “flaking” and the making of false arrests to obtain overtime
 compensation, known in the NYPD as “collars for dollars”


             62. In addition, the NYPD engaged in a practice policy or custom of inadequate
 screening, hiring, investigation, retaining, training and supervision of its employees that was the
 moving force behind the violation of the plaintiff’s rights as described in this complaint. By
 reason of the failure of the CITY OF NEW YORK to properly recruit, screen, train discipline
and supervise its officers, including the individual defendants, In addition, despite receiving
countless notices of claim and complaints of the Supreme Court of the State of New York as
well as the United States District Courts for the Eastern and Southern Districts of New York,
and the names and docket numbers of some of these are set forth below, the defendant the
CITY OF NEW YORK has tacitly ratified and authorized the conduct complained of, and has
displayed deliberate indifference to the acts and conduct complained of herein.


           63 . That the City of New York, through a policy, practice or custom, directly caused
the constitutional violations suffered by the plaintiff.


          64. The foregoing customs, policies usages, practices, procedures and rules of the
defendant the CITY OF NEW YORK constituted deliberate indifference to the safety, well
being and constitutional rights of the plaintiff.     .


          65. A number of members of the New York City Police Department have been
convicted of crimes involving corruption, perjury, making false allegations against civilians and
other criminal activity.


          66. In the year 2011, former Brooklyn South Narcotics Division officer Jerry Bowen
was convicted of homicide and attempted murder while he was under indictment for other
crimes.

          67. Former NYPD Commissioner Bernard Kerik was convicted of corruption related
crimes in connection with his employment with the NYPD and served time in federal prison.


          68. In Colon v the City of New York, Nos. 09 cv 8, 09 cv 9 (JBW) 2009WL 4263362
(EDNY November 25, 2009), the federal court stated that an “ informal inquiry by this court and
among the judges of this court, as well as knowledge of cases in other federal & state courts has
revealed anecdotal evidence of repeated, widespread falsification by arresting officers of the
NYPD.
            69 . Particularly in Richmond County, that has been a pattern of abuse and false
arrest by officers of the NYPD as evidenced by numerous lawsuits by persons of color, mostly
for drug related offenses. The actions include the following brought in the US District Court for
the Eastern & Souther Districts of New York Bey v v NYC, et al 09-03595 , Strong v NYC et
al, 10-01602, Brown v NYC et al 11-02277 , Stephens v NYC et al 11-05281 , Rhone v the
City of New York , 12-cv-00747 Goodwin v the City of New York, 04-01482. Weston v the
City of New York, 06-1513 ; In this case the plaintiff was a 52 year old college graduate with no
criminal record who had suffered from a stroke shortly before the incident. The plaintiff, who
was employed at Wagner High School as a teacher’s assistant, also had to fight eviction
proceedings because he lived in an apartment owned by the New York City Housing Authority
.Nielson v the City of New York , Patterson v NYC et al 10-cv-00231 Lawrence v The City of
New York, 11-05066. Archipoli v the City of New York, 10-1986 , where there were several
plaintiffs, including a 17 year old boy, and 39 year old William Archipoli who was confined to a
wheelchair at the time as he suffers from muscular dystrophy The plaintiffs were in their own
home on Staten Island when P.O. Orsini and others entered 219 Jefferson Street. The officers
drew guns on all, including the wheelchair bound plaintiff. Criminal charges were filed and later
dismissed in Richmond County Criminal Court.;Coleman v the City of New York 11-2574,
Rosenblum v the City of New York, 07 cv- 02158. Thompson v the City of New York, Ohagan
v the City of New York 09-05597 Bennett The v City of New York, 11-1929.Bunche v the City
of New York, 10-cv-5731. Morrow v NYC et al 11- 03054 George v NYC et al 10-cv-02407
Morrow v NYC et a; 11-03054 Butta et al v NYC, 11-cv-02843, Hewitt v NYC et al 09-00214,
Goodwin v NYC 04-01482,, Olushesi v NYC et al 09- 01754, Patterson v NYC 10-00231,
Johnson,v NYC et al 10-02407, Canlo v NYC 11-00052, Bennett v NYC, et al 11-cv-01929, ,
Hosang v NYC , et al 12-00751, Tung v NYC, 08-00181, Green v NYC et al 09-01825,
Whittaker v NYC et al 08-03209, Mangal & Burton v NYC, 07-3777, Knox v NYC et al 00-
00027, and Kelly v NYC et al 10-08438 This is a total of 36 separate actions. P.O. Vincent
Orsini has ben sued in at least 16 separate lawsuits.


        70. With respect to the individually named defendants, the defendant the CITY OF
NEW YORK had notice of the following actions brought in the US District Courts for the
Eastern and Southern Districts of New York. The defendant the CITY OF NEW YORK had
actual notice of all these actions and those set forth in the preceding paragraphs since its Law
Department and Corporation Counsel filed notices of appearance in all these actions and
represented the defendants and /or settled all of same:


         As to defendant DETECTIVE MICHAEL FAHMY, Jones, et al v the City of New York,
11-cv- 04107 (EDNY), Orlando, et al v the City of New York, 14-cv- 05331, Dupigny the City
of New York, 12-cv-01367, Williams v the City of New York, 12-cv-05153, and Meadows v the
City of New York 09-cv-02644.


         71. Despite the foregoing, the City of New York exercised deliberate indifference to the
aforementioned abuses against civilians such as the plaintiffs by failing to take remedial action.
The City failed to properly train, retain supervise discipline and monitor the defendants ad other
members of the service guilty of similar abuses. Upon information and belief, the officers
involved in these and other similar matters have been the subject of numerous CCRB and IAB
complaints which the City has failed to properly investigate and/ or deliberately ignored.

          72. The City’s failure to act resulted in a violation of the plaintiff’s constitutional
rights

          73.   At all times material to this complaint, defendant THE CITY OF NEW YORK
had de facto policies, practices, customs and usages which were a direct and proximate cause of
the unconstitutional conduct alleged herein.


          74. At all times material to this complaint, defendant THE CITY OF NEW YORK
failed to properly train, screen, supervise, or discipline employees and police officers, and failed
to inform the individual defendants’ supervisors of their need to train, screen, supervise or
discipline the individually named defendants . The policies, practices, customs, and usages
were a direct and proximate cause of the unconstitutional conduct alleged herein, causing injury
and damage in violation of plaintiff’s constitutional rights as guaranteed under 42 U.S.C. § 1983
and the United States Constitution, including its Fourth and Fourteenth Amendments.
         75. All of the foregoing acts by defendants deprived plaintiff of federally protected
constitutional rights, including but not limited to the right to:


          Not to be denied liberty without due process of law


          To not be subjected to false arrest and imprisonment.


          To be free from the use of excessive force, assault and summary punishment


          To have other officers intervene when a police officer abuses a civilian


          To be free from malicious prosecution.


          To be free from malicious abuse of process.




         76. As a result of the foregoing, plaintiff was deprived of liberty, suffered emotional
injury, pain and suffering, great humiliation, costs and expenses, and was otherwise damaged
and injured.




        AS AND FOR A NINTH CAUSE OF ACTION ON BEHALF OF THE
                  PLAINTIFF XARIEL CAMBRELEN
                        Deprivation of Rights under 42 U.S.C. Section 1981 & 1983


                      77. The plaintiff repeats the foregoing allegations


                      78. Each, every and all of the aforementioned acts of defendants, their
agents, servants and employees were performed and carried out under color of law.
                      79. All of the above described acts deprived plaintiff XARIEL
CAMBRELEN of the rights, privileges and immunities guaranteed to United States citizens by
the Fourth and Fourteenth Amendments to the United States Constitution and in violation of 42
U.S.C. Section 1983.
                    80. The acts which are the subject of this complaint were carried out by the
aforementioned individually named defendants, including but not limited to DETECTIVE
MICHAEL FAHMY, in their capacities as officers of the NYPD, with the entire actual and or
apparent authority attendant thereto, and with the intent to discriminate on the basis of race.


                     81. The acts which are the subject of this complaint were performed by the
individually named defendants in their capacities as officers of the NYPD, pursuant to the
customs, practices, usages, procedures and rules if the CITY OF NEW YORK and the NYPD,
all under the supervision of ranking officers of said department.


                     82. Defendants, collectively and individually, while acting under color of
state law, engaged in conduct and actions that constituted a usage, custom,practice, procedure or
rule of the respective municipal authority and defendant, THE CITY OF NEW YORK, which is
forbidden by the United States Constitution.
                    83. By reason of the foregoing, the plaintiff BETSEY NIEVES is entitled to
compensatory damages in a sum to be decided by a jury, and is further entitled to punitive
damages against the individual defendants in an amount to be determined by a jury, and, in
addition, reasonable attorney’s fees, costs and disbursements of this action.




               AS AND FOR A TENTH CLAIM ON BEHALF OF XARIEL
                                        CAMBRELEN
                       False Arrest/Unlawful Imprisonment under 42 U.S.C. Section 1983


                         84. Plaintiff repeats the foregoing allegations


                         85. The Defendants arrested the plaintiff XARIEL CAMBRELEN
without probable cause, causing him to be detained against his will for an extended period of
time and subjected to physical restraints.


                        86. The individually named defendants caused plaintiff XARIEL
CAMBRELEN to be falsely arrested and unlawfully detained.


                        87. By reason of the foregoing, the plaintiff XARIEL CAMBRELEN is
entitled to compensatory damages in a sum to be decided by a jury, and is further entitled to
punitive damages against the individual defendants in an amount to be determined by a jury,
and, in addition, reasonable attorney’s fees, costs and disbursements of this action.




           AS AND FOR AN ELEVENTH CLAIM ON BEHALF OF XARIEL
                                        CAMBRELEN
                       ( Malicious prosecution under 42 U.S.C. Section 1983 )


                       88. Plaintiff repeats the foregoing allegations


                       89. The individually named defendants began, initiated, commenced and
       continued a malicious protection against the plaintiff XARIEL CAMBRELEN .


                       90. Defendants caused the plaintiff XARIEL CAMBRELEN to be
prosecuted without probable cause until the charges against her were dismissed on or about
April 21, 2015.
                       91. By reason of the foregoing, the plaintiff XARIEL CAMBRELEN is
entitled to compensatory damages in a sum to be decided by a jury, and is further entitled to
punitive damages against the individual defendants in an amount to be determined by a jury,
and, in addition, reasonable attorney’s fees, costs and disbursements of this action.
                 AS AND FOR A TWELFTH CLAIM ON BEHALF OF XARIEL
                                          CAMBRELEN
                       Abuse of Process under 42 U.S.C. Section 1983


                92. Plaintiff repeats the foregoing allegations


                93. The defendants issued criminal process against the plaintiff XARIEL
       CAMBRELEN by arresting him and falsely prosecuting him in Richmond County
Criminal Court .
                94. Defendants, their agents servants and employees, by their conduct herein
alleged, caused the plaintiff XARIEL CAMBRELEN to be arrested and prosecuted in order to
obtain an impermissible collateral objective outside the legitimate ends of the legal system, to
wit: to avoid discipline for their abuse of authority, to gain overtime compensation, and thereby
violated plaintiff’s right to be free from malicious abuse of process.


                95. By reason of the foregoing, the plaintiff BETSEY NIEVES is entitled to
compensatory damages in a sum to be decided by a jury, and is further entitled to punitive
damages against the individual defendants in an amount to be determined by a jury, and, in
addition, reasonable attorney’s fees, costs and disbursements of this action.


 AS AND FOR A THIRTEENTH CLAIM ON BEHALF OF XARIEL CAMBRELEN
                       (Violation of Right to a Fair Trial under 42 U.S.C. Section 1983)


               96. The plaintiff incorporates by reference the allegations set forth in all
preceding paragraphs as if fully set forth herein.


               97. Defendants created false evidence against the plaintiff XARIEL
CAMBRELEN including false statements and physical evidence including majajuana.


               98. Defendants used the false evidence against XARIEL CAMBRELEN in a legal
proceeding in the Criminal Court of the City of New York and County of Richmond.


               99. By reason of the defendant’s creation, fabrication, and use of false evidence
against the plaintiff XARIEL CAMBRELEN, plaintiff suffered and experienced a violation of
his right to a fair trail as guarantied by the Constitution of the United States.


               100. By reason of the foregoing, the plaintiff XARIEL CAMBRELEN is entitled
to compensatory damages in a sum to be decided by a jury, and is further entitled to punitive
damages against the individual defendants in an amount to be determined by a jury, and, in
addition, reasonable attorney’s fees, costs and disbursements of this action.


        AS AND FOR A FOURTEENTH CLAIM ON BEHALF OF
                          XARIEL CAMBRELEN
                 Failure to Intervene under 42 U.S.C. Section 1983


              101. The plaintiff incorporates by reference the allegations set forth in all
preceding paragraphs as if fully set forth herein.




              102. The individual defendants had an affirmative duty and obligation to intervene
on behalf of the plaintiff whose constitutional rights were being violated in their presence and
with their knowledge.


              103. The defendants did not intervene to prevent or terminate the unlawful conduct
described herein.


              104. By reason of the foregoing the plaintiff had his liberty restricted for an
extended period of time, he was put in fear of his safety, and he was humiliated and subjected to
handcuffing and other physical restraints.
             105. By reason of the foregoing, the plaintiff XARIEL CAMBRELEN is entitled
to compensatory damages in a sum to be decided by a jury, and is further entitled to punitive
damages against the individual defendants in an amount to be determined by a jury, and, in
addition, reasonable attorney’s fees, costs and disbursements of this action.




                       AS AND FOR A FIFTEENTH CLAIM ON BEHALF OF XARIEL
                                           CAMBRELEN
                       Supervisory Liability under 42 U.S.C. Section 1983


             106. The plaintiff incorporates by reference the allegations set forth in all
preceding paragraphs as if fully set forth herein


             107. The supervisory defendants personally caused plaintiff’s constitutional injury
by being deliberately and/or consciously indifferent to the rights of citizens in failing to properly
train, select, supervise and discipline their employees


.             108. By reason of the foregoing, the plaintiff XARIEL CAMBRELEN is entitled
to compensatory damages in a sum to be decided by a jury, and is further entitled to punitive
damages against the individual defendants in an amount to be determined by a jury, and, in
addition, reasonable attorney’s fees, costs and disbursements of this action.




                     AS AND FOR A SIXTEENTH CLAIM ON BEHALF OF XARIEL
                                       CAMBRELEN
                      Municipal Liability under 42 U.S.C. Section 1983
                                  MONELL VIOLATION
             109. The plaintiff incorporates by reference the allegations set forth in all preceding
paragraphs as if fully set forth herein.




        .     110. Defendants, individually and collectively, while acting under color of state
law, engaged in conduct that constituted a procedure, custom, usage, practice, rule and/or
regulation of the municipal authority THE CITY OF NEW YORK which violates the
Constitution of the United States.


             111. The aforementioned procedures, customs, usage, practices, rules and/or
regulations of the NYPD includes, but is not limited to subjecting citizens to excessive force,
arresting people without probable cause and engaging in a practice of falsification to conceal
their abuse of authority. The wrongful acts include perjury and or lying under oath, known in the
NYPD as “testilying”, the planting of, and or perjurious statements with regard to controlled
substances , known in the NYPD as “flaking” and the making of false arrests to obtain overtime
compensation, known in the NYPD as “collars for dollars”


            112. In addition, the NYPD engaged in a practice policy or custom of inadequate
screening, hiring, investigation, retaining, training and supervision of its employees that was the
moving force behind the violation of the plaintiff’s rights as described in this complaint. By
reason of the failure of the CITY OF NEW YORK to properly recruit, screen, train discipline
and supervise its officers, including the individual defendants, In addition, despite receiving
countless notices of claim and complaints of the Supreme Court of the State of New York as
well as the United States District Courts for the Eastern and Southern Districts of New York,
and the names and docket numbers of some of these are set forth below, the defendant the
CITY OF NEW YORK has tacitly ratified and authorized the conduct complained of, and has
displayed deliberate indifference to the acts and conduct complained of herein.


            113 . That the City of New York, through a policy, practice or custom, directly caused
the constitutional violations suffered by the plaintiff.
          114. The foregoing customs, policies usages, practices, procedures and rules of the
defendant the CITY OF NEW YORK constituted deliberate indifference to the safety, well
being and constitutional rights of the plaintiff.   .


          115. A number of members of the New York City Police Department have been
convicted of crimes involving corruption, perjury, making false allegations against civilians and
other criminal activity.


          116. In the year 2011, former Brooklyn South Narcotics Division officer Jerry Bowen
was convicted of homicide and attempted murder while he was under indictment for other
crimes.


          117. Former NYPD Commissioner Bernard Kerik was convicted of corruption related
crimes in connection with his employment with the NYPD and served time in federal prison.


          118. In Colon v the City of New York, Nos. 09 cv 8, 09 cv 9 (JBW) 2009WL 4263362
(EDNY November 25, 2009), the federal court stated that an “ informal inquiry by this court and
among the judges of this court, as well as knowledge of cases in other federal & state courts has
revealed anecdotal evidence of repeated, widespread falsification by arresting officers of the
NYPD.


             119 . Particularly in Richmond County, that has been a pattern of abuse and false
arrest by officers of the NYPD as evidenced by numerous lawsuits by persons of color, mostly
for drug related offenses. The actions include the following brought in the US District Court for
the Eastern & Souther Districts of New York Bey v v NYC, et al 09-03595 , Strong v NYC et
al, 10-01602, Brown v NYC et al 11-02277 , Stephens v NYC et al 11-05281 , Rhone v the
City of New York , 12-cv-00747 Goodwin v the City of New York, 04-01482. Weston v the
City of New York, 06-1513 ; In this case the plaintiff was a 52 year old college graduate with no
criminal record who had suffered from a stroke shortly before the incident. The plaintiff, who
was employed at Wagner High School as a teacher’s assistant, also had to fight eviction
proceedings because he lived in an apartment owned by the New York City Housing Authority
.Nielson v the City of New York , Patterson v NYC et al 10-cv-00231 Lawrence v The City of
New York, 11-05066. Archipoli v the City of New York, 10-1986 , where there were several
plaintiffs, including a 17 year old boy, and 39 year old William Archipoli who was confined to a
wheelchair at the time as he suffers from muscular dystrophy The plaintiffs were in their own
home on Staten Island when P.O. Orsini and others entered 219 Jefferson Street. The officers
drew guns on all, including the wheelchair bound plaintiff. Criminal charges were filed and later
dismissed in Richmond County Criminal Court.;Coleman v the City of New York 11-2574,
Rosenblum v the City of New York, 07 cv- 02158. Thompson v the City of New York, Ohagan
v the City of New York 09-05597 Bennett The v City of New York, 11-1929.Bunche v the City
of New York, 10-cv-5731. Morrow v NYC et al 11- 03054 George v NYC et al 10-cv-02407
Morrow v NYC et a; 11-03054 Butta et al v NYC, 11-cv-02843, Hewitt v NYC et al 09-00214,
Goodwin v NYC 04-01482,, Olushesi v NYC et al 09- 01754, Patterson v NYC 10-00231,
Johnson,v NYC et al 10-02407, Canlo v NYC 11-00052, Bennett v NYC, et al 11-cv-01929, ,
Hosang v NYC , et al 12-00751, Tung v NYC, 08-00181, Green v NYC et al 09-01825,
Whittaker v NYC et al 08-03209, Mangal & Burton v NYC, 07-3777, Knox v NYC et al 00-
00027, and Kelly v NYC et al al 10-08438 This is a total of 36 separate actions. P.O. Vincent
Orsini has ben sued in at least 16 separate lawsuits.


        120. With respect to the individually named defendants, the defendant the CITY OF
NEW YORK had notice of the following actions brought in the US District Courts for the
Eastern and Southern Districts of New York. The defendant the CITY OF NEW YORK had
actual notice of all these actions and those set forth in the preceding paragraphs since its Law
Department and Corporation Counsel filed notices of appearance in all these actions and
represented the defendants and /or settled all of same:


       As to defendant DETECTIVE MICHAEL FAHMY, Jones, et al v the City of New York,
11-cv- 04107 (EDNY), Orlando, et al v the City of New York, 14-cv- 05331, Dupignyv the
City of New York, 12-cv-01367, Williams v the City of New York, 12-cv-05153, and Meadows
v the City of New York 09-cv-02644.
         121. Despite the foregoing, the City of New York exercised deliberate indifference to
the aforementioned abuses against civilians such as the plaintiffs by failing to take remedial
action. The City failed to properly train, retain supervise discipline and monitor the defendants
ad other members of the service guilty of similar abuses. Upon information and belief, the
officers involved in these and other similar matters have been the subject of numerous CCRB
and IAB complaints which the City has failed to properly investigate and/ or deliberately
ignored.


            122 . The City’s failure to act resulted in a violation of the plaintiff’s constitutional
rights


            123.    At all times material to this complaint, defendant THE CITY OF NEW YORK
had de facto policies, practices, customs and usages which were a direct and proximate cause of
the unconstitutional conduct alleged herein.


           124. At all times material to this complaint, defendant THE CITY OF NEW YORK
failed to properly train, screen, supervise, or discipline employees and police officers, and failed
to inform the individual defendants’ supervisors of their need to train, screen, supervise or
discipline the individually named defendants . The policies, practices, customs, and usages
were a direct and proximate cause of the unconstitutional conduct alleged herein, causing injury
and damage in violation of plaintiff’s constitutional rights as guaranteed under 42 U.S.C. § 1983
and the United States Constitution, including its Fourth and Fourteenth Amendments.


           125. All of the foregoing acts by defendants deprived plaintiff of federally protected
constitutional rights, including but not limited to the right to:


            Not to be denied liberty without due process of law


           To not be subjected to false arrest and imprisonment.
          To be free from the use of excessive force, assault and summary punishment


          To have other officers intervene when a police officer abuses a civilian


          To be free from malicious prosecution.


          To be free from malicious abuse of process.




         126. As a result of the foregoing, plaintiff was deprived of liberty, suffered emotional
injury, pain and suffering, great humiliation, costs and expenses, and was otherwise damaged
and injured.




            WHEREFORE, the plaintiffs respectfully prey to the court for judgment upon each

cause of action as follows:

                   a. Compensatory damages in an amount which this Court shall consider to be

just and fair:

                    b. Punitive and exemplary damages in an amount which this Court shall

consider to be just & fair;

                    c. Attorney’s fees in an amount which this Court shall consider just & fair;



                    d. Together with the costs and disbursements of this action and such other

and further relief which this Court may seem just & proper.
DATED: BROOKLYN, NY

       June 22, 2015.

   .                             This is an electronic signature

                        --------------/s/------------------------------
                         MICHAEL COLIHAN (MC-0826)
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